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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,

        v.                                           Case No. 19 CR 864

RISHI SHAH, et al.,                                Judge Thomas M. Durkin

                   Defendants.


       SELECT TRIAL EVIDENCE RELATING TO PROVISION OF MAKE GOODS

        In response to the Court’s request, Defendant Rishi Shah submits the following trial

transcript and exhibit citations demonstrating that Outcome provided make goods to customers in

the event of contractual shortfalls, even in the absence of customer complaint.

January 24, 2017 Voxer Message from Mr. Desai to Mr. Shah

   In a January 24, 2017 Voxer message from Mr. Desai to Mr. Shah, Mr. Desai indicated that

Outcome was indeed providing make goods as required by its contracts, even in the absence of

customer complaints:

   •    [W]here we’ve had guarantees and where we’ve had to measure, and when there’s a
        make good, we’ve absolutely gone ahead and provided those….

   •    [A]ny position we entered into in 2016 where we had a guarantee and where we had to go
        back and provide a make good, we absolutely did….

   •    There’s no doubt there’s deltas on programs. There’s no doubt we’ve got this issue with
        the affidavits. There’s no doubt that ROI guarantees need to be rightsized going in versus
        blanket termed across the board. Um, but how we’ve dealt with these in 2016 is with the
        utmost integrity and in the spirit of long-term partnership with our partners where, where
        we’ve had to make good, we absolutely will.

Gov. Ex. 762b.
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January 4, 2017 Voxer from Mr. Desai to Mr. Shah

       In a January 4, 2017 Voxer message from Mr. Desai to Mr. Shah, Mr. Desai explained that

Outcome was attempting to be transparent and providing a full make good plan to address its

operational issues:

   •   And so, as we went in to present the research, we of course hit the operational issue head
       on because it was the only way that we could continue to explain that hey these results are
       in fact really strong, it’s just disrupted by a shortage in offices for six months and then you
       know this issue in October. And the spirit of this was of course to be very transparent, a
       candid client, and being kind of had a full make good plan in front of him….

Gov. Ex. 715b.

Jason Ketchum Trial Testimony

       At trial, Jason Ketchum testified that in 2013, when one client was late in sending

advertising content for Outcome to display and therefore the campaign fell behind through no fault

of Outcome’s, Outcome provided a make good in the form of running the advertisements in an

additional 60 extra offices.

   •   Q. I think we covered the Humira campaign in 2013 was supposed to start January 2013,
       right?
   •   A. Yes.
   •   Q. And do you recall the client was actually more than a week late sending the Humira
       advertising content for Outcome to display?
   •   ….
   •   Q. So you recall the campaign fell behind here, through no fault of Outcome, right?
   •   A. Yes.
   •   …
   •   Q. Okay. And do you recall, sir, that Outcome actually provided a make-good of about 60
       extra offices to make up for the lost Humira impressions anyway?
   •   ….
   •   Q. [T]hat indicates there's going to be a make-good here, an extra 60 being added for that
       period, right?
   •   A. It's not clear if it's a make-good, but it does show an extra 60.
   •   Q. Okay. Operational issue occurred. Outcome provided a fix, right?
   •   A. Looks that way, yes.
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Jason Ketchum Trial Testimony

       At trial, Mr. Ketchum also testified regarding a proposal he made in a December 2012

email in which he confirmed that he proposed to run a client’s campaign at no charge to the client

until they hit the guaranteed 3:1 return on investment.

   •   Q. In your proposal you are guaranteeing a 3:1 ROI. What will the outcome be in terms of

       pricing and make good should you not be able to deliver on this?

   •   A. Run it at NO CHARGE until we hit 3:1.

Def. Ex. 10186; Ketchum Tr. at 1399:17–1400:24; December 12, 2012 email from Bob Mons
concerning proposal to Pradaxa.


Boehringer Contract

       The language of this contract demonstrates that if there was a shortfall on delivery in the

first half of the year, Outcome had the ability to make adjustments by using additional media in

the second half of the year. This type of make good was built into the contract.

   •   “If at year end, we have a shortfall against our ROI guarantee, we will provide sufficient
       media credit in Quarter 1, 2016, to make-good.”

DX 12294; Tr. 7975:22–24.




 Dated: June 26, 2024                           Respectfully submitted,
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                               CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on June 26, 2024, the foregoing was served upon all
counsel of record by operation of the Court’s electronic filing system.

                                              /s/ Richard E. Finneran
                                              RICHARD E. FINNERAN
